                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:05CR211-4-V

UNITED STATES OF AMERICA                   )
                                           )
              vs.                          )              ORDER
                                           )
JAIRO GOMEZ GARCIA,                        )
              Defendant.                   )
                                           )

       THIS MATTER is before the Court upon Defendant’s Motion To Dismiss Indictment,
filed June 1, 2006, and the Government’s Response, filed June 22, 2006. (Documents
#144, #151)
       Defendant, through counsel, challenges the federal prosecution against him for
alleged failure to comply with procedural requirements set forth within 18 U.S.C. §5032,
which governs juvenile criminal proceedings in the federal courts.            However, the
Government requests the Court defer ruling on Defendant’s motion pending:
1)determination by a “document expert” with respect to the authenticity of the birth
certificate submitted in support of Defendant’s motion; or 2) authenticity of the document
being established pursuant to Rule 902(3) of the Federal Rules of the Evidence. According
to the Government, if the purported genuine Mexican birth certificate obtained from
Defendant’s family in Mexico is, in fact, authentic, the Government will seek a voluntarily
dismissal as to this Defendant.
       IT IS, THEREFORE, ORDERED that the Court will DEFER / STAY RULING on
Defendant’s Motion To Dismiss pending receipt of a supplemental filing from the United
States, or no later than Tuesday, September 5, 2006, which marks the commencement
of the September trial term in the Statesville Division. As a result, this Defendant, and his
counsel, will not be required to attend the Status Conference previously scheduled in this
criminal action for July 10, 2006 in the Statesville Division.

                                               Signed: June 30, 2006




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